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11/4/21, 2:17 PM                                                Seventh Circuit Court District-Docket Report



                                          Mississippi Electronic Courts
                          Seventh Circuit Court District (Hinds County Court - Jackson)
                            CIVIL DOCKET FOR CASE #: 25CO1:21-cv-02864-LCS


 MAXWELL v. TRANSDEV SERVICES INC                                                        Date Filed: 08/27/2021
 Assigned to: Larita M Cooper-Stokes                                                     Current Days Pending: 69
                                                                                         Total Case Age: 69
 Upcoming Settings:                                                                      Jury Demand: None
                                                                                         Nature of Suit: 182 Negligence - Motor Vehicle
 None Found



  Date Filed          #    Docket Text
                           COMPLAINT against TRANSDEV SERVICES INC, filed by SHIRLEY MAXWELL.
  08/27/2021         2
                           (Attachments: # 1 Civil Cover Sheet,) (KB) (Entered: 08/27/2021)
  09/29/2021         3     SUMMONS Issued to TRANSDEV SERVICES INC. (KK) (Entered: 09/29/2021)
                           SUMMONS Returned Executed by SHIRLEY MAXWELL. Re: ** 3 SUMMONS Issued to
  10/12/2021         4     TRANSDEV SERVICES INC. (KK)** TRANSDEV SERVICES INC served on 10/8/2021,
                           answer due 11/7/2021. Service type: Personal (Cooper, Rhonda) (Entered: 10/12/2021)



                                                         MEC Service Center
                                                             Transaction Receipt
                                                              11/04/2021 14:15:52
                                        You will be charged $0.20 per page to view or print
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                                    MEC Login:      jk100040M      Client Code:      20085.00027
                                                    Docket         Search            25CO1:21-cv-02864-
                                    Description:
                                                    Report         Criteria:         LCS
                                    Billable
                                                    1              Cost:             0.20
                                    Pages:




https://seventh.circuit.mec.ms.gov/cgi-bin/DktRpt.pl?826132835703304-L_933_5-1,718625259156887-L_333_0-1                              1/1

                                                              EXHIBIT "1"
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